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                IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

BEACON MARITIME, INC., et al.,       )
    Plaintiffs,                      )
                                     )
v.                                   ) CIVIL ACTION NO. 1:19-00336-N
                                     )
HEAVY LIFT VB-10,000, her engines,)
tackle, and apparel, in rem, et al., )
      Defendants.                    )

                                      ORDER

      This action is before the Court on the Plaintiffs’ motion under Rule C(3)(a)(i)

of the federal Supplemental Rules for Admiralty or Maritime Claims and Asset

Forfeiture Actions (hereinafter cited as the “Supplemental Rules”) for an ordering

directing the Clerk of Court to issue a warrant for the arrest of the in rem Defendant

Heavy Lift VB-10,000, including her engines, tackle, and apparel.     (Doc. 2).   Upon

review of the Plaintiffs’ verified complaint (Doc. 1), the undersigned finds that the

conditions for an in rem action against the subject vessel appear to exist. 1


1
 The undersigned finds that the complaint alleges sufficient facts showing that a
maritime action in rem may be brought because it is a suit for damages involving the
collision of floating vessels occurring on navigable waters. See Supplemental Rule
C(1)(b); Supplemental Rule C advisory committee’s note to 1966 adoption (noting
that “suits for collision damages” are cases “in which the plaintiff may proceed in
rem and/or in personam”); Yamaha Motor Corp., U.S.A. v. Calhoun, 516 U.S. 199,
206 (1996) (“Because this case involves a watercraft collision on navigable waters, it
falls within admiralty’s domain.”). The complaint also satisfies Supplemental Rule
C(2) because it has (a) been verified by counsel of record for the Plaintiffs, see S.D.
Ala. CivLR 104(c); (b) describes with reasonable particularity the property that is
the subject of the action; and (c) alleges that the property is within this judicial
district, or will be while the action is pending. Finally, the complaint also satisfies
Supplemental Rule E(2)(a) and S.D. Ala. CivLR 104(a) (“The demand for judgment
in every complaint filed under Rule B or Rule C shall allege the dollar amount of the
debt or damages for which the action was commenced. The demand for judgment
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Accordingly, the Plaintiffs’ Supplemental Rule C(3)(a)(i) motion (Doc. 2) is

GRANTED, and the Clerk of Court is DIRECTED to issue, as soon as possible, a

warrant for the arrest of the Defendant Heavy Lift VB-10,000, including her

engines, tackle, and apparel, which is currently located at Epic Alabama Shipyard in

Mobile, Alabama.2 Once issued, the warrant shall be delivered to the United States

Marshal for service, see Supplemental Rule C(3)(b), which shall be carried out in

accordance with Supplemental Rule E(4).3

      DONE and ORDERED this the 9th day of July 2019.

                                       /s/ Katherine P. Nelson
                                       KATHERINE P. NELSON
                                       UNITED STATES MAGISTRATE JUDGE




shall also allege the nature of other items of damage.”). See Supplemental Rule
C(3) advisory committee’s note to 1985 amendment (“The rule envisions that the
order will issue upon a prima facie showing that the plaintiff has an action in rem
against the defendant in the amount sued for and that the property is within the
district. A simple order with conclusory findings is contemplated. The reference
to review by the ‘court’ is broad enough to embrace a magistrate as well as a district
judge.”).

2 The Plaintiffs have attached a proposed warrant of arrest (Doc. 2-2) to their
motion. In the event this proposed warrant does not meet the needs of the Clerk of
Court, the Clerk and counsel for the Plaintiffs are DIRECTED to confer
telephonically to discuss the Plaintiffs filing an amended proposed warrant that
meets the Clerk’s needs.

3 The Plaintiffs should communicate directly with the Marshal regarding any
additional instructions for arrest of the Vessel. See S.D. Ala. CivLR 104(e) (“The
party who requests a warrant of arrest or process of attachment or garnishment
shall provide instructions to the Marshal.”).
